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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


MALLINCKRODT ARD LLC,


                 Plaintiff,

      v.
                                               Civil Docket No. 1:19-cv-1471-TFH
SEEMA VERMA, in her official capacity as
ADMINISTRATOR, CENTERS FOR
MEDICARE & MEDICAID SERVICES, and
ALEX M. AZAR II, in his official capacity as
SECRETARY, UNITED STATES
DEPARTMENT OF HEALTH AND HUMAN
SERVICES,


                 Defendants.


       REDACTED COMBINED REPLY IN SUPPORT OF DEFENDANTS’ CROSS-
          MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM
       IN OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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